2:18-cv-01633-RMG   Date Filed 08/17/18   Entry Number 13-1   Page 1 of 48
2:18-cv-01633-RMG   Date Filed 08/17/18   Entry Number 13-1   Page 2 of 48
2:18-cv-01633-RMG   Date Filed 08/17/18   Entry Number 13-1   Page 3 of 48
2:18-cv-01633-RMG   Date Filed 08/17/18   Entry Number 13-1   Page 4 of 48
2:18-cv-01633-RMG   Date Filed 08/17/18   Entry Number 13-1   Page 5 of 48
2:18-cv-01633-RMG   Date Filed 08/17/18   Entry Number 13-1   Page 6 of 48
2:18-cv-01633-RMG   Date Filed 08/17/18   Entry Number 13-1   Page 7 of 48
2:18-cv-01633-RMG   Date Filed 08/17/18   Entry Number 13-1   Page 8 of 48
2:18-cv-01633-RMG   Date Filed 08/17/18   Entry Number 13-1   Page 9 of 48
2:18-cv-01633-RMG   Date Filed 08/17/18   Entry Number 13-1   Page 10 of 48
2:18-cv-01633-RMG   Date Filed 08/17/18   Entry Number 13-1   Page 11 of 48
2:18-cv-01633-RMG   Date Filed 08/17/18   Entry Number 13-1   Page 12 of 48
2:18-cv-01633-RMG   Date Filed 08/17/18   Entry Number 13-1   Page 13 of 48
2:18-cv-01633-RMG   Date Filed 08/17/18   Entry Number 13-1   Page 14 of 48
2:18-cv-01633-RMG   Date Filed 08/17/18   Entry Number 13-1   Page 15 of 48
2:18-cv-01633-RMG   Date Filed 08/17/18   Entry Number 13-1   Page 16 of 48
2:18-cv-01633-RMG   Date Filed 08/17/18   Entry Number 13-1   Page 17 of 48
2:18-cv-01633-RMG   Date Filed 08/17/18   Entry Number 13-1   Page 18 of 48
2:18-cv-01633-RMG   Date Filed 08/17/18   Entry Number 13-1   Page 19 of 48
2:18-cv-01633-RMG   Date Filed 08/17/18   Entry Number 13-1   Page 20 of 48
2:18-cv-01633-RMG   Date Filed 08/17/18   Entry Number 13-1   Page 21 of 48
2:18-cv-01633-RMG   Date Filed 08/17/18   Entry Number 13-1   Page 22 of 48
2:18-cv-01633-RMG   Date Filed 08/17/18   Entry Number 13-1   Page 23 of 48
2:18-cv-01633-RMG   Date Filed 08/17/18   Entry Number 13-1   Page 24 of 48
2:18-cv-01633-RMG   Date Filed 08/17/18   Entry Number 13-1   Page 25 of 48
2:18-cv-01633-RMG   Date Filed 08/17/18   Entry Number 13-1   Page 26 of 48
2:18-cv-01633-RMG   Date Filed 08/17/18   Entry Number 13-1   Page 27 of 48
2:18-cv-01633-RMG   Date Filed 08/17/18   Entry Number 13-1   Page 28 of 48
2:18-cv-01633-RMG   Date Filed 08/17/18   Entry Number 13-1   Page 29 of 48
2:18-cv-01633-RMG   Date Filed 08/17/18   Entry Number 13-1   Page 30 of 48
2:18-cv-01633-RMG   Date Filed 08/17/18   Entry Number 13-1   Page 31 of 48
2:18-cv-01633-RMG   Date Filed 08/17/18   Entry Number 13-1   Page 32 of 48
2:18-cv-01633-RMG   Date Filed 08/17/18   Entry Number 13-1   Page 33 of 48
2:18-cv-01633-RMG   Date Filed 08/17/18   Entry Number 13-1   Page 34 of 48
2:18-cv-01633-RMG   Date Filed 08/17/18   Entry Number 13-1   Page 35 of 48
2:18-cv-01633-RMG   Date Filed 08/17/18   Entry Number 13-1   Page 36 of 48
2:18-cv-01633-RMG   Date Filed 08/17/18   Entry Number 13-1   Page 37 of 48
2:18-cv-01633-RMG   Date Filed 08/17/18   Entry Number 13-1   Page 38 of 48
2:18-cv-01633-RMG   Date Filed 08/17/18   Entry Number 13-1   Page 39 of 48
2:18-cv-01633-RMG   Date Filed 08/17/18   Entry Number 13-1   Page 40 of 48
2:18-cv-01633-RMG   Date Filed 08/17/18   Entry Number 13-1   Page 41 of 48
2:18-cv-01633-RMG   Date Filed 08/17/18   Entry Number 13-1   Page 42 of 48
2:18-cv-01633-RMG   Date Filed 08/17/18   Entry Number 13-1   Page 43 of 48
2:18-cv-01633-RMG   Date Filed 08/17/18   Entry Number 13-1   Page 44 of 48
2:18-cv-01633-RMG   Date Filed 08/17/18   Entry Number 13-1   Page 45 of 48
2:18-cv-01633-RMG   Date Filed 08/17/18   Entry Number 13-1   Page 46 of 48
2:18-cv-01633-RMG   Date Filed 08/17/18   Entry Number 13-1   Page 47 of 48
2:18-cv-01633-RMG   Date Filed 08/17/18   Entry Number 13-1   Page 48 of 48
